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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE: PHILIPS RECALLED CPAP                        )
BI-LEVEL PAP, AND MECHANICAL                        )
VENTILATOR PRODUCTS                                 ) Master Docket: Misc. No. 21-1230
LITIGATION                                          )
                                                    )
                                                    ) MDL No. 3014
This Document Relates to: All Actions               )
                                                    )
                                                    )

REPORT FROM THE MDL 3014 LEADERSHIP DEVELOPMENT COMMITTEE AND
DEFENDANTS’ JUNIOR ATTORNEYS: REFLECTIONS AND RECOMMENDATIONS

I.     Introduction

       In the context of Federal Multidistrict Litigation (MDL), Leadership Development

Committees (LDCs) are a recent and evolving initiative aimed at promoting mentorship and

experience for attorneys newer to MDL practice. The MDL 3014 LDC, together with the attorneys

whose firms represent Defendants in these actions, submit this report based on their experience

and insights gained from participating in this MDL. In summary, LDCs are an important

mechanism to develop new leaders within the MDL bar and the legal profession more broadly, and

the LDC and Defendants commend Judge Conti for her willingness to implement an LDC in this

MDL.

II.    A Brief History

       Concerns about the need for a robust leadership pipeline in federal complex litigation have

spurred the Judiciary and Plaintiffs’ bar to evaluate the leadership appointment process in class




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action and mass tort litigation. 1 Judges and attorneys alike agree that LDCs are accretive to

cultivating new leaders in the MDL bar, ensuring that future MDLs have a wealth of talent from

which to choose during the leadership appointment process. 2

III.    MDL 3014

        In 2022, Judge Conti—in addition to the twenty-three attorneys appointed to the instant

leadership slate— established a ten-member LDC in MDL 3014 to facilitate mentorship and

prepare attorneys on the LDC for future leadership roles in complex multidistrict litigation.3

Recognizing the enthusiasm and talent among lawyers with less MDL experience, Judge Conti

aimed to provide the LDC with the education, experience, and mentorship necessary to lead future

MDLs. 4 This initiative reflects a broader effort within the legal industry to strengthen and enhance

the leadership pipeline within mass tort and class action litigation.

        By the end of 2024, through the efforts of the Court, special masters, and all counsel

involved, the Parties in MDL 3014 reached settlements of the economic loss class action, medical

monitoring class action, and personal injury claims, making MDL 3014’s LDC the first to

participate in an MDL from formation to completion.

        A.     Plaintiffs’ Perspective

               1. Appointment of Leadership Development Committee Members

        The attorneys appointed to the committee are made up of various backgrounds and legal




1
  See generally, Inclusivity and Excellence: Guidelines and Best Practices for Judges Appointing
Lawyers to Leadership Positions in MDL and Class-Action Litigation, Bolch Jud. Inst., Duke L.
Sch. (2021).
2
  See In re: Phillips Recalled CPAP Bi-Level PAP, & Mech. Vent. Prods. Liab. Litig. (“Philips
CPAP”), MDL No. 3014, Hearing Tr. 42: 13-17, (W.D. Pa. Feb. 25, 2025).
3
   See Philips CPAP, Pretrial Order No. 8, (ECF No. 395) (“PTO 8”), at *11-13 (W.D. Pa. Feb.
15, 2022).
4
  Id. at 11.
                                                  2
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experiences, unified by their limited prior MDL exposure. Judge Conti described this LDC as made

of “talented attorneys who were expected to meaningfully participate in all aspects of the MDL”

and their appointment as allowing for them to gain the “education, experience and mentorship

necessary to lead future MDLs.” 5 The table below summarizes the backgrounds of the LDC:

    Category                  Details
    Primary Practice Area     1 class action, 1 antitrust, 1 mass tort, 4 hybrid 6, 2 personal injury, 1
                              bankruptcy
    Position at Firm          Partner = 4; Associate = 6
    Firm Size (by attorneys) 4, 4, 6, 10, 17, 20, 23, 24, 28, 61
    Years of Practice (Avg)   10 years
    Years of Practice (Range) 2–20 years
    Age Range                 30–59
    States                    Connecticut, Florida, Louisiana, Missouri, Minnesota, Ohio,
                              Pennsylvania
    Gender                    8 women, 2 men
    Geography                 Midwest = 4, East = 4, South = 2
    Race/Ethnicities          White, Black, Cuban, Filipino, Native Hawaiian
    Lived Experience          1 LDC member was an active user of Defendant's device

          MDL 3014’s LDC slate is distinguished from other LDCs by greater diversity in age and

years of experience. LDCs are occasionally referred to as “the baby leadership” or “for younger

and newer attorneys.” While an LDC is certainly a valuable opportunity for newer attorneys, the

value of participation on an LDC is exponentially higher for more experienced plaintiff attorneys.

MDL 3014’s LDC members include attorneys with double-digit trial experience, a board-certified

trial attorney, attorneys who worked in unappointed roles on dozens of MDLs and class actions,

and an attorney with expertise in corporate insolvency matters and federal bankruptcy proceedings.

          The LDC provided key learning and mentorship opportunities that opened doors for these

talented attorneys to prepare for more substantial leadership roles in future MDLs. Since their

appointment to the LDC, some of the LDC members from MDL 3014 have already been appointed


5
    See Id. at 11-13.
6
    Hybrid = a mix of personal injury and mass tort practice.
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to leadership roles in other MDLs, continuing to serve their clients with the skills they honed under

their MDL 3014 mentors.

               2. LDC and Case Management Conferences (CMC)

       One of the most impactful components of serving on the LDC in this litigation was the

opportunity to attend monthly case management conferences before Judge Conti. From the outset,

Judge Conti recognized the importance of integrating LDC members into the broader litigation

process. She made an update from the Leadership Development Committee a standing agenda item

at each conference, allowing members to rotate attendance and gain direct exposure to the

leadership and procedural flow of the case.

       This rotation proved to be one of the most valuable learning experiences for all LDC

members. Attending these conferences allowed the LDC members to observe firsthand how Judge

Conti managed the docket, evaluated legal issues, and facilitated collaboration between parties.

Members gained insight into the practicalities of overseeing a large and complex multidistrict

litigation and the standards of professionalism and preparation expected in federal court.

       Beyond the courtroom, these meetings also provided opportunities for professional

development and relationship building that led to greater involvement in the litigation. At the

beginning of the litigation, Judge Conti hosted an informal reception in her chambers, offering a

collegial space for all plaintiff and defense counsel to interact. As the litigation progressed, this

practice was carried forward by both plaintiff and defense firms, who graciously hosted similar

receptions.

       The LDC members unanimously agree that providing for participation at regular case

management conferences should be continued in future MDLs. The structured exposure to high-

level litigation strategy, court administration, and real-time advocacy was invaluable. It provided


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LDC members with the opportunity to contribute while observing and engaging in the

collaborative dynamic between Plaintiffs’ counsel and provided an understanding of the

coordination that drives large-scale litigation forward. The LDC also appreciated the chance to

work with and observe attorneys that demonstrated how to balance zealous advocacy for their

clients with professionalism and courtesy to opposing counsel.

       The LDC is deeply grateful to Judge Conti for her foresight and dedication to fostering the

LDC’s professional growth. Her intentional inclusion of LDC members helped shape the members’

understanding of complex litigation and the collaborative spirit it demands.

               3. Expanding The LDC’s Purpose

       LDCs are still a new concept in the MDL world and as such, they continue to evolve. In

overseeing MDL 3014, Judge Conti took an innovative approach to her interpretation of who was

meant to participate in leadership development initiatives. In addition to the LDC, Judge Conti

enjoyed updates from junior associates employed at the Lead Counsel firms who received

opportunities to work on key aspects of the litigation by virtue of their firm’s role. Defense

associates also reported updates to Judge Conti. Eventually, in Judge Conti’s courtroom, the term

“LDC” became synonymous with “junior attorney” or “associate” regardless of whether the

attorney was an appointed member of the Plaintiff’s LDC. This inclusive redefining of the LDC—

to include both the appointed LDC members and the younger associates of involved firms—

advanced the overarching goals of an LDC by further strengthening the pipeline of future class

action and MDL leaders.

               4. LDC Mentorship Program

       To encourage participation and experiential learning, Plaintiffs’ Lead Counsel created an

LDC mentorship program. Each LDC member’s mentor was also a Co-Chair of their appointed


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committee. LDC members reported very positive feedback for this program. Many members

forged meaningful relationships inside and outside of the MDL and continue their mentorships

outside of the MDL. LDC members reflected that it was helpful to have a non-judgmental space

to ask questions and learn, and that their mentors did their best to keep them informed and involved

in the litigation. The LDC appreciates the commitment that MDL Leadership has shown to the

LDC members’ professional development within MDL 3014 and as members of the MDL

plaintiffs’ bar going forward.

                5. LDC Monthly Committee Meeting

        The LDC functioned as a working committee and held monthly update meetings. LDC

members presented status updates on their assigned committees, discussed assigned projects, and

brainstormed various legal issues. Additionally, the committee held a “topics of the month” series,

in coordination with Lead Counsel and other committee chairs, to learn about the life cycle of a

multidistrict litigation.

        The LDC members unanimously agree that the monthly meetings were a helpful aspect of

this experience. As the LDC members gained knowledge through mentorship and work

experiences, these meetings allowed the LDC members to share that knowledge internally and

learn from each other, which fostered collegiality, consistency, and a spirit of inclusion among

LDC members. The camaraderie and collaboration among peers became a vital support system

and one of the most rewarding aspects of the appointment. For these relationships, the MDL 3014

LDC will be forever grateful to Lead Counsel and this Court.

        B. Defendants’ Perspective

                1. Defendants Request the Opportunity To Participate In Leadership
                   Development Opportunities




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       Courts generally do not appoint lawyers or law firms to leadership roles for defendants in

MDLs. As a result, LDCs are far less common for junior attorneys representing defendants.

However, the development of junior defense attorneys to lead the defense of future MDLs through

experience, education and mentorship is equally important. Thus, if possible, junior attorneys on

the defense-side of MDLs should be included in LDC opportunities, as Defendants’ junior

attorneys in MDL 3014 were.

       Defendants’ participation in MDL 3014’s LDC program was established after members of

Plaintiffs’ LDC were asked periodically to report at the monthly CMCs “on how th[e] process is

working . . . to make sure the next generation of lawyers coming up are able to get adequate

opportunities.” March 22, 2022 CMC Tr. at 6:9-20. Following several of these presentations,

Defendants requested that their junior attorneys also be permitted to speak regarding their

professional development, which the Court immediately accommodated.

               2. Defendants Establish Structures and Opportunities to Develop Junior
                  Attorneys
       This Court’s establishment of the LDC encouraged Defendants’ more senior attorneys to

be particularly mindful of the need to develop and mentor their junior attorneys through a variety

of opportunities that presented themselves as part of the defense of MDL 3014. Defendants’ senior

attorneys established structures to ensure the ongoing development of all their associate attorneys,

from junior to senior associates. As an initial matter, Defendants’ senior attorneys selected a

different junior attorney to provide an LDC update to the Court at each of the monthly CMCs,

ensuring the full participation of less experienced attorneys . Defendants’ senior attorneys also

used the monthly CMCs, and the preparation for those CMCs, to carefully consider the various

projects that each less experienced was leading to ensure that each person received substantial

developmental opportunities.


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       The disbursement of substantive opportunities and projects for Defendants’ less

experienced attorneys was driven primarily by the establishment of workstreams addressing

various aspects of the MDL, including but not limited to briefing, written discovery, document

collections and productions, and depositions, among others. Defendants’ LDC members would

then join, or lead, these workstreams based on the demands of this action as it progressed through

its various stages, including briefing, discovery, and settlement.        LDC members had the

opportunity to take the lead on various projects under the direct and close supervision of

Defendants’ more senior attorneys, with the senior attorneys often encouraging Defendants’ LDC

members to take on more difficult, “stretch” assignments to encourage additional professional

development.

       By taking on leadership roles and a range of assignments across workstreams, Defendants’

less experienced attorneys have developed a diverse set of substantive skills. Indeed, many of

Defendants’ LDC members have reported on the robustness of their experiences during the

monthly LDC updates at the CMCs in MDL 3014. For example:

       This case . . . has me doing so many different types of work that have really
       contributed in a meaningful way to my development as a legal practitioner. So
       myself and the other young lawyers on the team, we have had our hands quite full
       writing briefs and actually developing the arguments that go into the briefs, among
       other things. That’s been the case pretty much since this case first started.

Nov. 17, 2022 CMC Tr. 32:1-9.

       I had a pretty broad variety of experiences. I conducted witness interviews, drafted
       review protocol, [document] review training, been working on a bunch of written
       discovery . . . , and actually, this Friday, we will be leading a meet and confer with
       my colleague Caleb Seeley from Seeger Weiss, who is here today, on plaintiffs'
       deficiency letter.

Dec. 14, 2022 CMC Tr. 46:11-16

       Another aspect that I have really enjoyed about this case team is the voice that I
       have had in our factual investigation, and I think as we embark on our factual

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       development -- and I think I speak for myself and all of the other counsel on our
       team when I say this -- that the partners have been really great about getting us all
       really engaged in that process and . . . making sure that we have a voice in that
       narrative. That’s been really great, too.
Feb. 22, 2022 CMC Tr. 20:1-9.
       I’ve been really lucky to work with and very closely with a lot of the partners on
       our team. I’m involved in a variety of work streams. . . . Overall, I feel like I have
       grown a ton in the past nine months of practice. I’ve improved my skills in
       communication, analysis, teamwork, and then, of course, today speaking, which is
       great.
June 15, 2022 CMC Tr. 16:2-17.
       In working on this case, I’ve been given really significant responsibilities in areas
       ranging from big picture strategy to preparing for and even taking depositions. . . .
       So it was a lot of work, but really great learning experience. And I feel very
       fortunate to be able to work on this case, particularly fortunate to have such a
       supportive team, a ton of support from the partners with whom I work.
Jul. 20, 2023 CMC Tr. 18:8-10, 19:12-16
       As articulated by many of Defendants’ LDC members, because of the diverse range of

substantive projects and leadership opportunities with which they have been entrusted (under the

close supervision of more senior attorneys), they have had the ability to take ownership over key

workstreams propelling the MDL. As a result, Defendants’ LDC members have developed a strong

foundation of the skills and knowledge necessary to lead the defense of future MDLs—the very

goal of the LDC.

IV.    LDC Litigation Highlights and Contributions

           A. Plaintiffs’ Perspective

       Pre-trial Order No. 8 set forth the Court’s intention that members of the Leadership

Development Committee “will—where appropriate—meaningfully participate in all phases of

this MDL including, but not limited to, participation on committees and subcommittees, drafting

master complaints, drafting and arguing briefs, participating in settlement negotiations, and




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preparing for and taking depositions of lay witnesses and expert witnesses.” 7 The LDC

contributed meaningfully across core areas of the litigation, including:

             1. Discovery

      •   Presented oral argument in opposition to Defendants’ discovery requests directed at the

          named plaintiffs in the medical monitoring class action.

      •   Advocated for the court to impose a narrowly tailored scope of discovery consistent with

          the limited purpose of the medical monitoring claims.

      •   Served as discovery coordinators for named plaintiffs across multiple jurisdictions and

          drafted discovery responses to interrogatories and requests for production.

      •   Reviewed and coded large volumes of documents from key productions.

      •   Participated in weekly meetings with the Discovery Special Master Carole Katz.

             2. Depositions

      •   Served as deposition counsel and defended depositions for named plaintiffs in the medical

          monitoring class action.

      •   Prepared deposition dossiers, summarizing key evidence, and reviewing relevant medical

          and billing records.

      •   Attended and summarized depositions of corporate representatives and other witnesses.

             3. Science and Expert

      •   Completed the interviewing and vetting process for all expert witnesses, researched

          potential experts’ qualifications, and prepared memoranda on the reliability and

          admissibility of expert testimony.

      •   Conducted factual legal research related to Daubert issues and drafted related memoranda.



7
    See Phillips CPAP, PTO 8 at *11.
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•   Assisted in the preparation of the presentation team for Science Day by completing

    whitepapers and primers for device introduction, and on various injuries.

•   Participated in the development of the device inspection protocol and coordinated visual

    device inspections across the country.

        4. Legal Briefing and Motion Practice

•   Drafted sections of the oppositions to numerous motions to dismiss, drafted motions to

    unseal complaints and corresponding exhibits.

•   Drafted objections to confidentiality designations in deposition transcripts and portions of

    briefs for various issues in front of the Special Master.

•   Drafted portions of the Master Complaints and the Medical Monitoring Complaint.

•   Aided in the establishment of the online MDL Centrality system for Census Registry

    Forms, Short Form Complaints and Answers, Fact Sheets, authorizations, and records.

•   Conducted legal research and produced memoranda regarding jurisdiction, fraudulent

    omission, and choice of law.

•   Supported plaintiff counsel’s preparation for oral arguments before the Court.

        5. Bellwether Case Vetting and Case Management

•   Reviewed cases filed in the MDL and evaluated the same for potential class representatives

    and/or bellwether cases.

•   Drafted and edited case vignettes for Bellwether Committee review.

•   Maintained a master spreadsheet of filed cases for monitoring claims, injuries, and

    jurisdictional data.

        6. Committee Leadership and Mentorship

•   Co-chaired the LDC and served as liaison with the Plaintiffs’ Steering Committee.


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   •    Organized monthly committee meetings and facilitated learning experiences.

   •    Advocated for increased exposure and assignments on behalf of the Committee.

   •    On a rotating basis, reported to the Court updates on the status of the LDC.

   B.      Defendants’ Perspective

           Given the fast-paced and complex nature of the MDL, Defendants’ LDC members were

   expected to develop a robust understanding of Plaintiffs’ claims, including the underlying facts

   and governing law, to ensure they could fully participate in all aspects of the case. From initial

   pleadings through settlement, Defendants’ less experienced attorneys were expected to

   contribute substantively to the Philips parties’ defense, including by: drafting pleadings,

   briefing, and various discovery requests; reviewing and producing documents; preparing

   deponents to testify; preparing for evidentiary hearings; and conducting legal research on a

   variety of matters, including to facilitate settlement negotiations.        Through the MDL,

   Defendants’ LDC members gained valuable substantive experiences, which included many of

   Defendants’ LDC members taking and defending their first depositions. Because many of the

   MDL work streams happened concurrently, rather than sequentially as in many other litigation

   contexts, Defendants’ less experienced attorneys were able to gain experience across the life

   cycle of a case in a much shorter time than less complex litigation.

               1. Legal Briefing and Motion Practice

        The MDL provided Defendants’ LDC members with significant writing experience, both

in terms of substance, volume and subject matter variety. Due to the 50-state nature of Plaintiffs’

claims (spread across three different operative complaints), Rule 12 motions were an all-hands on

deck experience. Accordingly, even the most junior Defendants’ associates were responsible for

important legal research and were given the opportunity to draft substantive sections of Philips’


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briefs. The senior attorneys worked closely with Defendants’ LDC members throughout the brief-

writing process by providing strategic guidance on substantive arguments and direct written

feedback on associates’ writing. Beyond Rule 12 motions, Defendants’ less experienced attorneys

gained valuable experience in drafting (i) both party and third-party discovery requests as well as

responses and objections, (ii) a variety of motions, including to remand and to compel, and (iii)

findings of fact and conclusions of law. Defendants’ LDC members valued the opportunity to hone

their writing skills at such an early stage of their careers and have already used these skills to

contribute meaningfully to other matters, including MDLs.

               2. Discovery

       Discovery in an MDL is often a massive undertaking, and it certainly was in this case, as

reflected by the millions of documents produced, dozens of depositions taken and various disputes

that arose over the course of litigation. At all stages of discovery, Defendants’ less experienced

attorneys were a driving force in keeping the process moving. Defendants’ LDC members played

an integral role in managing and conducing the document review and production process,

preparing witnesses for depositions, propounding and responding to written discovery, managing

the exchange and review of Defendants’ and Plaintiffs’ Fact Sheets, and conferrals with Plaintiffs’

counsel on discovery disputes. In addition, Defendants’ less experienced attorneys were given the

important opportunity to take offensive depositions of named Plaintiffs around the country in

connection with the Medical Monitoring litigation track. For many of Defendants’ LDC members,

this was their first time taking a deposition. Through these experiences and opportunities,

Defendants’ less experienced attorneys gained valuable knowledge with respect to managing the

robust and complex discovery that is a part and parcel of MDLs.

               3. Evidentiary Hearing


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       In modern litigation, it has become increasingly rare for associates to participate

meaningfully at trial. Here, when the Court held an evidentiary hearing on personal jurisdiction

over KPNV, Defendants’ LDC members were given the unique opportunity to develop skills

similar to those gained through trial. For example, Defendants’ less experienced attorneys drafted

cross examinations and developed legal and factual case theories in preparation for the hearing.

At the hearing, Defendants’ LDC members sat at counsel’s table and were actively involved

driving real time responses to Plaintiffs’ presentation. Throughout the evidentiary hearing,

Defendants’ less experienced attorneys honed their ability to make creative arguments, develop

novel legal arguments on unsettled areas of the law, and think on their feet in response to live

presentations of evidence.

               4. Oral Advocacy

       With the support and guidance of Defendants’ senior attorneys, several of Defendants’ LDC

members had the opportunity to argue motions before the Court and Special Master, including

motions to dismiss and motions to compel, among others. Defendants’ less experienced attorneys

also provided status updates to the Court on a regular basis at the CMCs. And when not presenting,

Defendants’ LDC members played an integral role in assisting Defendants’ more senior attorneys

prepare for argument on a variety of topics and issues across the life of the MDL, from “Science

Day” to settlement.

               5. Settlement

       Defendants’ less experienced attorneys were given the opportunity to play a meaningful

role in the development of the various settlement agreements in this case, including by conducting

legal research to support the structure of the settlements, coordinating responses to objections, and

drafting the text of the settlement papers themselves. In addition, Defendants’ LDC members


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prepared materials for the preliminary and final approval hearings and benefitted from observing

the Court’s handling of objections. Because many cases take years to settle, the MDL provided a

rare opportunity for Defendants’ less experienced attorneys to work on diverse range of projects

underpinning a settlement of this magnitude over the course of just three years.

V.          Insights for Future MDLs

               A. Plaintiffs’ Perspective

            The LDC are all extremely grateful for the opportunity to participate in this litigation and

improve their skills as complex litigation attorneys. Based on this experience, the LDC respectfully

offers the following insights for future Leadership Development Committees, and courts

considering appointing an LDC, many of which were employed in this MDL:

      1. Encourage appointments of attorneys at every stage of their career, not just associates or

            attorneys with minimal years of overall experience.

      2. Having Co-Lead Counsel “appoint a member of the PSC to chair [the LDC] and oversee

            the incorporation of the talents of the members of this committee throughout the litigation” 8

            is a helpful way to ensure LDC members are positioned to contribute meaningfully to the

            litigation while also receiving individual mentorship.

      3. Judicial oversight at regular intervals can be helpful. As discussed, Judge Conti’s

            requirement that LDC members report during status conferences emphasized LDC

            involvement and provided a forum for LDC members to make connections that allowed

            them to contribute more meaningfully to the litigation.

      4. In the interest of best utilizing each of the LDC members’ strengths and allowing them to

            organically find their place in the litigation, it may be beneficial to have the LDC members



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    Id.
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         work on various committees at the outset of the MDL to gain exposure to their co-counsel

         and several aspects of the litigation.

      5. It would be beneficial to create a clear workflow process that facilitates assigning open

         projects/tasks to LDC members who have time and the requisite skill and would also

         suggest creating a process whereby LDC attorneys can offer assistance in certain areas of

         interest.

      6. Implement a mentorship program with the following suggestions:

             a. Take each LDC member’s interests into account and match accordingly;

             b. Encourage check-ins at a regular interval; and

             c. Provide direction and guidance to mentors about their responsibilities to the

                 mentor/mentee relationship.

             B. Defendants’ Perspective

         Defendants’ LDC members thank the Court for the opportunity to participate in an LDC

and encourage the Court to continue the practice so that others can receive the significant

substantive experiences that they have had here. This Court and others overseeing future MDLs

should encourage the participation of less experienced defense-side attorneys in LDC programs so

that they can receive the benefit of participating in all aspects of MDL practice.

VI.      CONCLUSION

         Leadership Development Committees are a forward-thinking innovation in MDLs. The

undersigned LDC members’ experiences show they are a useful tool for the litigation bar to

develop talent with excellent results. LDCs cultivate the next generation of MDL leaders and

represent a vital investment in the future of the legal profession. The MDL 3014 LDC members

strongly encourage the continued inclusion of LDCs in future MDL leadership slates.


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Dated: May 30, 2025                                          Respectfully submitted,


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Plaintiffs’ Leadership Development Committee 9

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  Ms. Inez Ross was appointed to the MDL 3014 LDC and has recently left her firm and plaintiff practice. She
intends to file a motion to withdraw shortly.

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